           Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 1 of 30


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UNITED STATES DISTRICT COURT                                              ELE CTR ONI CAL LY :FILED
SOU THE RN DISTRICT OF NEW YOR K                                          DOC #:
                                                        ------- X
-------------------------------------------------------                   DATEF-IL_E_D_:-4-1-,A-:.--l-1-~-
                                                                        i;.._                     I
LOUISETTE GEISS et al.,
                                                                      ORD ER AND OPI NIO N
                                        Plaintiffs.                   DEN YIN G IN PAR T AND
             V.                                                       GRA NTI NG IN PAR T
                                                                      DEF END ANT S' MO TIO NS TO
                                                          LLC,        DIS MIS S
THE WEINSTEIN COMPANY HOLDINGS
et al.,
                                                                       17 Civ. 9554 (AKH)
                                        Defendants.

                                                          ------- X
-------------------------------------------------------

 ALVIN K. HELLERSTEIN, U.S.D.J.:
                                                                   lin Dulany, Louisette Geiss, Larissa
                  This action by ten plai ntif fs-Z oe Brock, Cait

                                                 issa Sagemiller, Sarah Ann Thomas, Melissa
 Gomes, Katherine Kendall, Nannette Klatt, Mel
                                                                                            in ("H.
                                              on beha lf of a class, against Harvey Weinste
 Thompson,. and Jane Doe -ind ivid uall y and
                                             ain officers and directors of those companies,
 Weinstein"), his former companies, and cert
                                                                                           and that
                                             and assaulted them between 1993 and 2011,
 charges that H. Weinstein sexually harassed
                                                                                           e to
                                                 covered up his misconduct. Defendants mov
  the other defendants knew of, facilitated, and

  dismiss.
                                                              ains eighteen counts, including four
                    The First Amended Complaint ("F AC") cont

                                                   Victims            Protection Act ("TVPA") (Counts I and
  federal claims for violations of the Trafficking
                                               anization              s Act ("RICO") (Counts V and VI), and
  II) and Racketeer Influenced and Corrupt Org
                                                                                                             nts
                                                             and retention (Counts III and IV), battery (Cou
   fourteen state claims for negligent supervision
                                                                                                 al
                                                   imprisonment (Counts XI and XII), intention
   VII and VIII), assault (Counts IX and X), false
                                                                                                   ess
                                                 and XIV), negligent infliction of emotional distr
   infliction of emotional distress (Counts XIII


                                                               1
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 2 of 30



 (Counts XV and XVI), and ratification (Counts XVII and XVIII). The state law claims fall into

 two categories: (i) allegations against Miramax Film NY LLC ("Mirama x"); The Walt Disney

 Company, Disney Enterprises, Inc., Buena Vista International, Inc. (together, "Disney" ); and

 certain officers of these companies (together with Miramax and Disney, the "Mirama x

 Defendants") for conduct occurring before Septembe r 30, 2005; and (ii) allegations against The

 Weinstei n Company Holdings, LLC ("TWC") and certain officers and directors ofTWC

 (together with TWC, the "TWC Defendants") for conduct occurring after Septembe r 30, 2005.

                Defendants move to dismiss under Rules 12(b)(l) and 12(b)(6) of the Federal

 Rules of Civil Procedure (ECF Nos. 199,239 ,241,246 , and 254). For the reasons discussed

 below, H. Weinstei n's motion to dismiss the TVPA claim against him (Count I) is denied. All

other claims (Counts II-XVIII) are dismissed against all defendants, including H. Weinstein: the

TVP A participation claims (Count II) fail to allege receipt of a benefit from participation in sex

trafficking, the RICO claims (Counts V and VI) fail to allege injury to business or property

caused by a RICO violation, and the state law claims (Counts III, IV, VII-XVIII) are untimely

under the applicable statutes of limitations.




                                         BACKGROUND
  I.   Factual Background

           a. Harvey Weinstein's Film Empire

               H. Weinstein and his brother, Robert Weinstein ("R. Weinstein"), co-founded

Miramax in the late 1970s. FAC ,r 60. Miramax grew from a small film-distribution company to

become, by 1989, "the most successful independent [film] studio in America. " Id at ,r 60. In



                                                2
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 3 of 30



 1993, the Weinstein brothers sold Miramax to Disney for $80 million and retained their

 leadership of Miramax following the acquisition. Id at ,r 61. Miramax released its first

 blockbuster film, Pulp Fiction, in 1994. Id at ,r 61. Many of the company's subsequent films

 achieved great commercial and critical success. Id at ,r 62.

                  On September 30, 2005, the Weinstein brothers left Miramax and Disney. Id at

 ,r 63.   Their new company, TWC, had its own run of major film and television successes. See

 FAC, Ex. A. In the wake of the revelations concerning H. Weinstein's alleged misconduct,

 TWC filed for bankruptcy. FAC ,r 758.

                  H. Weinstein's success put him among the most powerful and influential

executives in the entertainment industry. Id at ,r 10. That power and influence included the

"ability to make or break ... careers," which he allegedly used to abuse and silence numerous

young women who sought his help in advancing their careers. Id at ,r 65.

              b. Public Revelation of Accusations Against Harvey Weinstein

                  On October 5, 2017, The New York Times published an article revealing multiple

allegations of sexual harassment against H. Weinstein. Id at ,r 11. In the wake of the article's

publication, four TWC board members resigned and the board voted to terminate H. Weinstein's

services. Id at ,r,r 433-437. Subsequent reporting, most notably in The New York Times and The

New Yorker, described a pattern of sexual assaults and cover-ups by H. Weinstein, assisted or

condoned by members of his inner circle.

              c. Plaintiffs' Allegations

                 Plaintiffs allege that H. Weinstein's "predatory and sexually harassing behavior

toward women," id at ,r 84, followed a consistent pattern: H. Weinstein set up meetings with



                                                 3
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 4 of 30



    women under the guise of assisting them with their careers, isolated them after they had arrived

    for the meetings, and assaulted, battered, or attempted to assault them. Id. at ,r,r 89-91. H.

    Weinstein allegedly threatened and/or caused harm to the careers of women who refused his

 advances, including by having them "blacklisted." The FAC further alleges that certain

 employees of Miramax, Disney, and TWC had knowledge of and, in some cases, facilitated or

 covered up Weinstein's misconduct.

                   Six plaintiffs- Katherine Kendall, Nannette Klatt, Caitlin Dulany, Zoe Brock,

 Larissa Gomes, and Melissa Sagemiller (together, the "Miramax Subclass") -allege that H.

 Weinstein assaulted them during his time at Miramax (1993 to 2005). 1 Four plaintiffs -

Louisette Geiss, Sarah Ann Thomas, and Melissa Thompson (together, the "TWC Subclass")

allege that H. Weinstein assaulted them during his time at TWC (2005 to 2017), with the most

recent assault alleged to have occurred in 2011.

                       i. Allegations of the Miramax Subclass

                              1. Nannette Klatt

                  In 1993 or 1994, Klatt had an interview for an audition on the first floor of a

building also occupied by Miramax. FAC ,r 93. H. Weinstein walked past the room where Klatt

was interviewing and asked her interviewer to step outside. Id. at ,r 94. The interviewer returned

and told Klatt that H. Weinstein wanted to meet with her in his office about a role in a film he



1
  There is also a Jane Doe plaintiff, as to whom the FAC alleges misconduct spanning H.
Weinstein's time at both Miramax and TWC. "The title of [a] complaint must name all the
parties." Fed. R. Civ. P. IO(a). "This requirement, though seemingly pedestrian, serves the vital
purpose of facilitating public scrutiny of judicial proceedings and therefore cannot be set aside
lightly." Sealed Plaintiffv. Sealed Defendant, 537 F.3d 185, 188-89 (2d Cir. 2008). The
allegations relating to Jane Doe are stricken, with leave to show why she is entitled to proceed
anonymously under the applicable standard. See id. at 190.

                                                    4
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 5 of 30



  was working on. Id. at ,r 95. At their meeting that night, H. Weinstein
                                                                          had Klatt read from a
  script, told her she would get the part, and told her he might have other
                                                                            projects for her as well.
 Id. at ,r 97. At the end of the meeting, Weinstein asked to see Klatt's
                                                                         breasts. Id. at ,r 98. When
 Klatt refused, H. Weinstein became enraged, told her she would "never
                                                                       work again," id. at ,r 99,
 and "corralled her" into a dark stairwell. Id. at ,r 100. Klatt alleges that
                                                                              she suffered emotional
 and physical distress, and lost the part H. Weinstein had offered, other
                                                                          opportunities at Miramax
 and TWC, and other professional opportunities as a result of the incide
                                                                         nt. Id. at ,r 101.

                             2. Katherine Kendall

                  In 1993, Kendall met H. Weinstein about parts in two Miramax movie
                                                                                     s, which H.
 Weinstein told her she would get. Id. at ,r 103. After the meeting, H.
                                                                        Weinstein invited Kendall
 to a movie screening and told her he would introduce her to other people
                                                                          there. Id. at ,r 104.
 Instead, H. Weinstein took Kendall to a public movie theater, "bullie
                                                                       d" Kendall into coming up
to his apartment after the movie, trapped her, and attempted to assaul
                                                                       t her. Id. at ,r,r 107-113. H.
Weinstein called Kendall several times after the assault. Id. at ,r 114.
                                                                         Kendall was traumatized
by the assault and had to "remove hersel f completely from the enterta
                                                                       inment industry. Id. at
,r 115.   In the summer of 2017, Kendall was contacted by agents of H. Weins
                                                                             tein as part of an
attempt to surveil her and other "targets." Id. at ,r,r 116-124.

                            3. Caitlin Dulany

                 In 1996, approximately two months after Dulany rejected an attempt
                                                                                    by      H.
Weinstein to seduce her in her apartment, H. Weinstein invited Dulan
                                                                     y to the premier of a
Miramax film, followed by a benefit dinner. Id. at ,r 135. After the dinner
                                                                            , H. Weins tein's
assistant told Dulany there was a car outside waiting to take her to the
                                                                         after-party. Id. at ,r 136.



                                                  5
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 6 of 30



  Instead, Dulany ended up alone with H. Weinstein in his hotel room,
                                                                      where he imprisoned and
  sexually assaulted her. Id. at ,r,r 138-139. Dulany alleges that she experi
                                                                              enced personal and
  professional problems as a result of the assault. Id at ,r,r 146-150.

                             4. Zoe Brock

                  In 1998, H. Weinstein, accompanied by Rick Schwartz of Miramax,
                                                                                  sat next to
 Brock at a group dinner at which Fabrizio Lombardo, another Miram
                                                                   ax employee, was also
 present. Id at ,r 153. After the dinner, H. Weinstein, Schwartz, and
                                                                      Lombardo separated Brock
 from her agent and friends,' and took her to Weins tein's hotel room for
                                                                          a drink. Id. at ,r 155.
 Shortly thereafter, Schwartz and Lombardo left the hotel room. Id. H.
                                                                       Weinstein attempted to
 assault Brock, who locked hersel f in the bathroom. Id. at ,r,r 157-158.
                                                                          After H. Weinstein
 stopped threatening her, Brock left the bathroom and took a car back
                                                                      to the area where the dinner
 had taken place. Id. at ,r 159. On the way, H. Weinstein told Brock
                                                                     he wanted to help her with
 her career. Id. The next day, at a private film screening, H. Weinstein
                                                                         entered the theater and sat
 directly behind Brock with his hand on her chair for the entire movie
                                                                       . Id at ,r 163. Brock
alleges that she suffered emotional and physical distress as a result of
                                                                         the incident, and never
received any work or professional support from H. Weinstein. Id. at
                                                                    ,r 25.
                            5. Melissa Sagemiller

                 In the summer of 2000, Sagemiller was acting in a Miramax film. Id.
                                                                                     at ,r 165.
During production, one ofH. Weins tein's assistants, who Sagemiller
                                                                    believes was Barbara
Schneeweiss, told her to go to H. Weins tein's hotel room for a "very
                                                                      important" meeting. Id. at
,r 167.   When she arrived, H. Weinstein demanded a massage and a kiss. Id
                                                                           at ,r 170. After
Weinstein threatened her career, Sagemiller ultimately submitted to a
                                                                      forcible kiss. Id. at ,r 172.



                                                  6
        Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 7 of 30



  The following day, H. Weinstein had Sagemiller's lugga
                                                         ge transferred to his private plane
  without her consent, forcing her to travel with him. Id at
                                                             ,r 175. Sagemiller alleges that she
  suffered emotional and physical distress as a result of the
                                                              assault and believes she was denied
  several acting roles because she refused H. Weinstein. Id.
                                                             at ,r,r 177-179.

                             6. Larissa Gomes

                 In 2000, when Gomes was in Ontario, Canada to act and
                                                                       dance in a Miramax
  movie, H. Weinstein told her he was impressed by her and
                                                           wanted to meet with her. Id. at ,r 180.
 At a meeting in H. Weinstein's hotel room with Gomes,
                                                       the film' s music director, and a
 Miramax executive, H. Weinstein expressed interest in havin
                                                             g Gomes appear in       future Miramax
 films to be shot in Canada. Id. at ,r 185. At a subsequent
                                                            meeting in his hotel room, H.
 Weinstein told Gomes she would be "perfect" for two upcom
                                                           ing Miramax productions. Id. at ,r
 188. Shortly thereafter, H. Weinstein demanded a massage
                                                          and, when Gomes refused, H.
 Weinstein sexually assaulted her. Id. at ,r,r 194-198. The
                                                            assault allegedly "dam aged Gomes
 physically and emotionally, and it damaged her career."
                                                         Id at ,r 202.
                    ii. Allegations of the TWC Subclass

                            1. Louisette Geiss

                At the 2008 Sundance Film Festival in Park City, Utah,
                                                                       H. Weinstein asked Geiss
about her career and proposed to meet her in the lobby of
                                                          a hotel. Id at ,r 244. When the lobby
bar closed, H. Weinstein invited her to his office inside the
                                                              hotel, promising that he would not
touch her. Id. at ,r,r 244-245. Once inside, H. Weinstein
                                                          told her he would "greenlight" her
script if she watched him masturbate, and assaulted her.
                                                         Id at ,r,r 247-249. In addition to
suffering emotional and physical distress, Geiss lost a "thre
                                                              e-film deal and other opportunities at



                                                 7
         Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 8 of 30



  TWC " as a result of her refusal to work with and perfo nn
                                                             sexual acts for H. Weinstein: Id at
  ,r 251.   Barbara Schneeweiss contacted her in 201 7 "so that she
                                                                      would not speak to the press."
  Id. at ,r 253.

                                2. Sarah Ann Thomas (a/k/a/ "Sarah Ann Masse")

                     In 2008, H. Weinstein assaulted Thomas at his Connecticu
                                                                              t home while she was
  interviewing for a position as a nanny. Id. at ,r 261. As
                                                            a result of the incident, Thomas suffered
  emotional distress, "manifest[ing] into physical symptoms
                                                            ," and was blacklisted from acting
 roles. Id. at ,r,r 264-265.

                                3. Melissa Thompson

                     On September 29, 2011, Thompson met with H. Weinstein
                                                                           at TWC 's office in
 New York City to pitch an enterprise video platform. Id.
                                                          at ,r 268. H. Weinstein began touching
 her inappropriately during the meeting, and ultimately pinne
                                                              d her against a refrigerator. Id. at
 ,r,r 273-277.     Later that day, H. Weinstein took Thompson into a hotel
                                                                           room and raped her. Id at
 ,r,r 284-294.   In October 2017, Thompson allegedly was targeted by agent
                                                                              s working for H.
 Weinstein's legal team, who sought and obtained informatio
                                                            n from her abou t her claims against
H. Weinstein. Id at ,r,r 302-312. These incidents "caused
                                                          Thompson significant additional
distress and fear, as well as damage to her business and prope
                                                               rty .... " Id at ,r 323.
             d. Defendants

                        i. Corporate Defendants

                               1. Miramax

                   Miramax is a New York corporation with its principal place
                                                                                of business in
California. Id. at ,r 34. H. Weinstein was a founder and
                                                         co-chairman of Miramax. Id. at ,r 40.
Miramax employed, among others, defendants Lombardo
                                                    and Schneeweiss. Id at ,r 55, 58.

                                                   8
        Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 9 of 30



  According to the FAC, Miramax continued to work
                                                  with Weinstein and TWC              after Weinstein
  left to found TWC in 2005. Id at iJ 64.

                              2. Disney

                  The Walt Disney Company and Disney Enterprises,
                                                                          Inc. are Delaware
  corporations. Id at 'jjiJ 36, 38. Buena Vista Internatio
                                                           nal, Inc., a subsidiary of Disney
  Enterprises, Inc., is a California corporation. Id. at ,i
                                                            39. Each of the Disney entities has its
 principal place of business in California. Id at ,i,i 38-3
                                                            9. The FAC alleges that H. Weinstein
 had three employment agreements with Disney-affiliat
                                                      ed entiti     es, which together spanned the
 period from 1993 to 2005. Id at ,i,i 36, 38. Disney
                                                     allegedly paid the salaries of defendant
 Lombardo and other individuals who helped to facili
                                                         tate the assaults. Id at ,i 39.

                             3. TWC

                 TWC is a Delaware LLC with its principal place of
                                                                   business in New York. Id at
 ,i 33. Weinstein founded TWC and was co-chairm
                                                an of the company until 2017. Id. at ,i 40.
 TWC employees allegedly procured erectile dysfunctio
                                                      n shots for Weinstein, lured women into
 one-on-one meetings with him, and cleaned up after
                                                    his assaults. Id at ,i,i 441-42. TWC
employed Gil and Schneeweiss. TWC entered into
                                               employment contracts with H. Weinstein in
2005, 2010, and 2015. Id at ,i,i 423-25.

                   ii. Individual Defendants

                Three individual defe ndan ts-H . Weinstein, R. Wein
                                                                     stein, and Barbara
Schn eewe iss-w orke d at both Miramax and TWC, and
                                                    face counts from both subclasses of
plaintiffs. Schneeweiss began working at Miramax
                                                  in 1996 and moved to TWC in 2005. Id at
iJ 386. The FAC alleges that R. Weinstein was aware of his broth
                                                                 er's sexual misconduct,



                                                  9
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 10 of 30



     authorized Miram ax and TWC to settle claims relating to that
                                                                   misconduct, and personally paid
     ·one victim and the colleague who reported the assault. Id at
                                                                   ,r 351.
                    The Miram ax Subclass brings claims against five additional defen
                                                                                      dants. Of them,
     four are former Miram ax officers: Nancy Ashbr ooke (Vice Presi
                                                                     dent- Hum an Resources),
     Mark Gill (Head of Marketing), Fabrizio Lombardo (described
                                                                 as H. Wein stein' s Europ ean
    "hand ler"), and Rick Schwartz (Senior Vice President - Produ
                                                                  ction). The fifth, Michael Eisner,
    was the Chairman and Chief Executive Officer of Disney. 2 The
                                                                  TWC subclass brings claims
    against eleven additional defendants, including nine former TWC
                                                                    direc tors-T arak Ben Amm ar,
    James Dolan, Paul Tudor Jones, Richard Koenigsberg, Marc
                                                             Lasry, Lance Maerov, Jeff
    Sackman, Tim Sarnoff, and Dirk Ziff- and two former TWC
                                                            office rs-Da vid Glasser (President
    and COO) and Frank Gil (Vice Presi dent- Huma n Resources).

                   The FAC alleges that each of the individual defendants had know
                                                                                   ledge     of H.
    Wein stein' s sexual misconduct. It also alleges that all of the
                                                                     individual TWC defendants knew
    of and/or participated in (i) settlements reach ed with some ofH.
                                                                      Wein stein' s victims and
    (ii) negotiations surrounding H. Wein stein' s emplo ymen t contra
                                                                       cts, which made Weinstein
partially liable for future settlements or judgm ents relating to
                                                                  sexual misconduct. It generally
alleges that defendants facilitated H. Wein stein' s assaults, but
                                                                   its facilitation allegations are non-
conclusory with respect to only four defendants:




2
 Unlike the other Miram ax Defendants, Eisne r is not name d in
                                                                the RICO claims (Counts V and
VI).

                                                   10
               Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 11 of 30



           o     Frank Gil allegedly authorized a bonus for an employee who procured
                                                                                     erectile
                 dysfunction drugs for Weinstein and destroyed evidence relating to Weins
                                                                                          tein's abuse in
                2017. FACif if626, 631.

       •        Fabrizio Lombardo, who worked for a European subsidiary ofMir amax,
                                                                                    allegedly
                "procured women for Weinstein's pleasure" during Weinstein's trips
                                                                                   to Europe. Id at
                ,r 404.
       •        Barbara Schneeweiss allegedly facilitated assaults by scheduling appoin
                                                                                        tments with
                Weinstein's victims and then moving those appointments to hotel rooms
                                                                                           . Id at ,r,r 640-
                41.

       •        Rick Schwartz allegedly "lured" victims, including Brock, to Weinstein's
                                                                                         hotel suites, led
                them to the meeting, and then left. Id at ,r 398.



 II.           Procedural Background

                          Plaintiffs filed their original complaint on December 6, 2017 (ECF No.
                                                                                                 1).
Defendants moved to dismiss, and I held oral argument on September
                                                                   12, 2018. I dismissed the
complaint with leave to replead and ordered that the two related cases
                                                                       -the Geiss class action,
involving the TWC Subclass, and the Dulany class action, involving the
                                                                       Miramax Subclass, then
under docket no. 18 Civ. 4857- proce ed together via one amended compl
                                                                       aint.
                          Plaintiffs filed the FAC on October 31, 2018 (ECF No. 140). Irwin Reiter
                                                                                                   , a Vice
President at Miramax and then TWC, was dismissed from the lawsuit
                                                                                on December 13, 2018
(ECF No. 182). Defendants again moved to dismiss, and the court held
                                                                     oral argument on those
motions on March 13, 2019.



                                                         11
            Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 12 of 30



                                                 DISCUSSION
       I.    Standard on a Motion to Dismiss

                     In ruling on a motion to dismiss, the court must accep
                                                                            t the factual allegations in
     the complaint as true and draw all reasonable inference
                                                                s in favor of the nonmoving party.
     Gregory v. Daly, 243 F.3d 687, 691 (2d Cir. 2001),
                                                              as amended (Apr. 20, 2001). To survive a
     motion to dismiss, "a complaint must contain sufficient
                                                                   factual matter, accepted as true, to 'state
    a claim to relie f that is plausible on its face. '" Ashcroft,
                                                                   556 U.S. at 678 (quoting Bell At!. Corp.
    v. Twombly, 550 U.S. 544, 570 (2007)). "A claim has
                                                                facial plausibility when the plain tiff pleads
    factual content that allows the court to draw the reaso
                                                               nable inference that the defendant is liable
    for the misconduct alleged." Id.



     II.    Sex Trafficking Claims Under 18 U.S.C. §§ 1591
                                                           , 1595
                   The TWC Subclass brings claims against H. Weinstein
                                                                       (Count I) and the TWC
    Defendants (Count II) under the civil remedy created
                                                         by the TVPA, 18 U.S.C. § 1595(a). Under
    that provision, effective December 31, 2008, victims
                                                         may bring an       action against a "perpetrator"
 or against "whoever knowingly benefits, financially
                                                     or by receiving anything of value from
participation in a venture which that person knew or
                                                     should have known has engaged in" a
qualifying offense. 3




3
  The previous version of the statute, enacted in 2003,
                                                         provided a civil action against only the
"perpetrator" of a qualifying offense. However, a perpe
                                                           trator can be either a direct violator
under 18 U.S.C. § 159l (a)(l ), or a participant under
                                                       18 U.S.C. § 1591(a)(2), neither of which
provisions have changed in any relevant way since 2003
                                                           . The 2008 Amendment also introduces
the "should have known" language in the civil liabil
                                                      ity provision, thereby adding a constructive
knowledge alternative to the existing actual knowledge
                                                          standard. Since this opinion assumes

                                                     12
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 13 of 30



                  Here, plaintiffs allege that H. Weinstein violated 18 U.S.C
                                                                              . § 1591 (a)(l) , which
  applies to direct violators, and that the TWC Defendants
                                                           violated 18 U.S.C. § 1591(a)(2), which
  applies to participants. 18 U.S.C. § 159l( a) provides, in
                                                             relevant part:

                  Whoever know ingly -

                  (1) in or affecting interstate or foreign commerce ... recru
                                                                                its, entices, harbors,
                  transports, provides, obtains, advertises, maintains, patro
                                                                              nizes, or solicits by any
                  means a person; or

                 (2) benefits, financially or by receiving anything of value
                                                                             , from participation in a
                 venture which has engaged in an act described in violation
                                                                                of paragraph (1),
                 knowing, or, ... in reckless disregard of the fact, that mean
                                                                               s of force, threats of
                 force, fraud, coercion ... , or any combinatlon of such mean
                                                                                s will be used to
                 cause the person to engage in a commercial sex act, ... shall
                                                                                 be punished ....
                 Under 18 U.S.C. § 1591(e)(3), "commercial sex act" is defin
                                                                             ed as "any sex act, on
 account of which anything of value is given to or received
                                                            by any person." Subsection (e)(4)
 defines "participation in a venture" as "knowingly assist
                                                           ing, supporting, or facilitating a violation
 of subsection (a)(l) ." Subsection (e)(6) defines "venture"
                                                             as "any group of two or more
 individuals associated in fact, whether or not a legal entity
                                                               ."
            a. Harvey Weinstein

                Plaintiffs allege that H. Weinstein enticed wom en to attend
                                                                             meetings with him by
promising them a chance to work for him, and then assau
                                                        lted them, in violation of 18 U.S.C.
§ 1591 (a)(l) . Weinstein argues that these alleged assau
                                                          lts do not constitute "commercial sex
acts" prohibited by the TVPA because they did not resul
                                                            t in the exchange of something of value.




defendants' actual knowledge of a sex trafficking enterprise,
                                                              whether the 2003 or 2008 version
of the TVPA applies to a given claim is irrelevant.

                                                  13
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 14 of 30



  Two district courts in this district have rejected this argument.
                                                                    In the first of those cases, Judge
 Sweet reasoned:

                  The opportunity ... for [an] actress to sit down with [Weinstein]
                                                                                      in
                  a private meeting to review her film reel and discuss a promised
                  film role carries value that is career-making and life-changing.
                  The contention, therefore, that [plaintiff] was given nothing of
                  value -that the expectation of a film role, of a modeling meeti
                                                                                  ng,
                  of"hi s people" being "in touch with her" had no value -does
                                                                                 not
                  reflect mode m reality."

 Noble v. Weinstein, 335 F. Supp. 3d 504, 521 (S.D.N.Y. 2018).
                                                               Judge Engelmayer later denied
 H. Weinstein's motion to dismiss a similar TVPA claim "[l]ar
                                                              gely for the reasons persuasively
 given" in Noble. Canosa v. Ziff, No. 18 Civ. 4115 (PAE), 2019
                                                               WL 498865, at *22 (S.D.N.Y.
Jan. 28, 2019).

                  I join Judges Engelmayer and Sweet in holding that the TVPA
                                                                              extends to
enticement of victims by means of fraudulent promises of career
                                                                     advancement, for the purpose of
engaging them in consensual or, as alleged here, non-consensual
                                                                sexual activity. Accordingly,
H. Weinstein's motion to dismiss the TVPA claim against him
                                                            is denied.
            b. TWC and the Individual Defendants

               Plaintiffs allege that the TWC Defendants participated in H. Wein
                                                                                 stein's sex-
trafficking venture by helping to facilitate, clean up after, and
                                                                  cover up the assaults, and that they
benefited from their participation because it

               ensured that Harvey Weinstein continued to produce movies,
               ensuring that TWC continued to make mone y or receive financ
                                                                                ing,
               the TWC Directors' investments ... continued to make money,
                                                                                 the
               Directors and Officers continued to receive the social benefits
                                                                               and
               power within the film industry, and the TWC Officers continued
                                                                                  to
               receive their paychecks, bonuses and other incentives.




                                                 14
         Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 15 of 30



    PAC ,i 756. They assert that the collapse of TWC following the public revelation
                                                                                     of Weinste in's
    misconduct demonstrates the value the compan y had been receiving from its participation
                                                                                             in the
    cover-up. Id at ,i 758.

                    Defendants argue that plaintiffs have failed to plead the "participation,"

    "benefit s," and "venture " elements of 18 U.S.C. § 159l(a)( 2). Althoug h I agree that plaintiff
                                                                                                      s
    have failed to adequately allege participation as to nearly all of the TWC Defendants, 4
                                                                                             I focus on
    plaintiff s' failure to allege any benefits received by defendants from their participation,
                                                                                                 a
    deficiency that is fatal to all of plaintiff s' claims under 18 U.S.C. § 1591(a)(2).

                   Unlike direct perpetrators of sex trafficking, aiders and abettors of sex trafficking

 are liable under the TVPA only if they knowing ly "benefit[], financially or by receiving
                                                                                           anything
 of value, from participation in a venture which has engaged in" sex trafficking. 18 U.S.C.

 §§ 1591(a)(2), 1595(a) (emphasis added). 5 The participation giving rise to the benefit must
                                                                                              be




4
  As to most of the Individual Defendants, the only purporte d participation alleged by the
                                                                                             FAC is
involvement in the hush paymen ts to Harvey' s victims. Participation, however, requires
"assisting, supporting, or facilitating" sex trafficking. 18 U.S.C. § 159l(e)( 4). Accordi
                                                                                           ngly,
involvement in making hush paymen ts to cover up sex trafficking is not sufficient to trigger
liability under the TVPA. See Lawson v. Rubin, No. 17 Civ. 6404 (BMC), 2018 WL 2012869
                                                                                                 , at
*11 (E.D.N.Y. Apr. 29, 2018) (holding that lawyer paid by defenda nt to draft non-disc
                                                                                         losure
agreements between plaintiffs and perpetrator was not liable under§ 1591(a) (l)), appeal
withdrawn, No. 18-2047, 2018 WL 4945704 (2d Cir. Sept. 17, 2018).

5
  Apart from the constructive knowledge provision, the operative language of the TVP A
                                                                                            civil
remedy and underlying criminal statute are identical. I therefor e consider the "benefit s"
                                                                                            element
to have the same content in both provisions. I note, however, that a Magistrate Judge recently
adopted a broader interpretation of "benefit s" under section 1595(a). See Gilbert v. United
                                                                                               States
Olympic Comm., No. 18 Civ. 981 (MEH), 2019 WL 1058194, at *15, 19 (D. Colo. Mar. 6,
                                                                                              2019)
(holding that female taekwondo athletes alleging sexual abuse by promine nt member s
                                                                                         of the
United States taekwondo commun ity adequately pleaded that USA Taekwo ndo and the
                                                                                           U.S.
Olympic Committee received a benefit under Section 1595(a) from their mere relationship
                                                                                              with

                                                     15
         Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 16 of 30



 participation in a sex-trafficking venture, not participation in other activities engage
                                                                                          d in by the
 sex traffickers that do not further the sex-trafficking aspect of their venture. See
                                                                                      United States v.
 Afyare, 632 F. App'x 272,28 6 (6th Cir. 2016) ("§ 159l(a) (2) targets those who
                                                                                 participate in sex
 trafficking; it does not target [those] who tum a blind eye to the source of their
                                                                                    financial
 sponsorship."). In other words, there must be a causal relationship between affirma
                                                                                     tive conduct
 furthering the sex-trafficking venture and receipt of a benefit, with actual or,
                                                                                  in the civil context,
 constructive knowledge of that causal relationship.

                In Canosa, the court held that the complaint adequately alleged a causal

 relationship between the companies' participation in sex trafficking and their
                                                                                purported benefit,
 i.e., that facilitating H. Weinstein's misconduct "as a means of keeping him happy,
                                                                                     productive,
 and employable" helped the companies "achieve fame and reap financial benefit
                                                                               s" by keeping
him as an employee. 2019 WL 498865, at *24. Another court permitted a similar
                                                                              TVPA claim
to proceed against TWC without discussing the "benefits" element, possibly becaus
                                                                                  e plainti ff
claimed TWC was liable as a direct participator under 18 U.S.C. § 1591(a )(l).
                                                                               See Huett v.
Weinstein Co. LLC, No. 2:18 Civ. 6012 (SVW), 2018 WL 6314159, at *2-3 (C.D.
                                                                            Cal. Nov. 5,
2018).

               The TWC Defendants undoubtedly benefited from H. Weinstein's continued

employment at TWC. His movies and influence generated revenue, and some
                                                                        of that revenue
flowed to TWC's officers and directors. The controlling question, however, is
                                                                              whether H.
Weinstein provided any of those benefits to TWC because ofTWC 's facilitation
                                                                              ofH.



one of the perpetrators, who competed for those organizations in the Olympic
                                                                             Games and World
Championships).

                                                 16
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 17 of 30



     Weinst ein's sexual misconduct. The FAC pleads no facts that would plausib
                                                                                ly support such a
    conclusion. To the contrary, plaintiffs' allegations suggest that H. Weinstein
                                                                                   benefited TWC in
    spite a/his alleged predations, which caused many women not to work with TWC,
                                                                                          diverted
    compa ny resources toward supervision of H. Weinstein and away from busines
                                                                                s activities, and
    exposed TWC to potential liability.

                   The FAC does not allege that H. Weinstein secured TWC's alleged complicity
                                                                                              in
    his sexual violence as a condition of his employment. In fact, H. Weinst ein's
                                                                                   employment
    agreements made conviction for such an offense grounds for termination. Likewi
                                                                                   se, the FAC
    does not allege that any directors or officers to whom TWC paid a salary were
                                                                                  compensated for
    their participation in H. Weinst ein's assaults. 6 See Kolbek v. Twenty First Centur
                                                                                         y Holiness
    Tabernacle Church,--Jnc., No. 10 Civ. 4124, 2013 WL 6816174, at *16 (W.D.
                                                                              Ark. Dec. 24,
    2013) ("The fact that sexual abuse was committed by the ministr y's leader and
                                                                                   that members of
the ministry had their expenses paid for through ministry funds is simply not
                                                                              sufficient to
establish a violation of 18 U.S.C. § 1591."); cf Ricchio v. McLean, 853 F.3d
                                                                             553, 555-56 (1st
Cir. 2017) (holding that plaintif f adequately alleged TVP A liability against motel
                                                                                        owners and
operators who allegedly received rent payments from a guest they knew was
                                                                          holding plainti ff
hostage and "groom ing her for service as a prostitute"). The FAC therefore
                                                                            fails to state a claim
against the TWC Defendants for participation in sex trafficking.




6
 One employee, Sandeep Rehal, allegedly received a bonus for procuring erectile
                                                                                dysfunction
drugs for Harvey. FAC ,r 626. Rehal is not named as a defendant, however.

                                                   17
         Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 18 of 30



  III.       Civil RICO Claims Under 18 U.S.C. §§ 1962(c), (d), 1964(c)

                   Both subclasses assert RICO (Count V) and RICO conspiracy (Count VI) claims

  against all defendants except Disney and Eisner. Although these claims appear
                                                                                to be deficient
 for several reasons, I focus my analysis on plaintiffs' failure to establish standin
                                                                                      g under 18
 U.S.C. § 1964( c)-a deficiency common to each of the RICO claims against each
                                                                               of the
 defendants.

                   "RICO provides a civil remedy to '[a]ny person injured in [her] business or

 property by' a RICO violation." Canosa, 2019 WL 498865, at *25 (quoting 18
                                                                            U.S.C.
 § 1964(c)). "The phrase 'business or property' ... exclude[s] personal injuries
                                                                                 suffered." Reiter
 v. Sonotone Corp., 442 U.S. 330,33 9 (1979). "The overwhelming weight of
                                                                          authority
 interprets Reiter to exclude the economic consequences of personal injuries."
                                                                               Zimmerman v.
 Poly Prep Country Day School, 888 F. Supp. 2d 317 (E.D.N.Y. 2012) (collec
                                                                           ting cases and
holding that former students' diminished career opportunities and lost earning
                                                                               potential flowing
from personal injuries caused by former coach's sexual abuse were not compen
                                                                             sable RICO
injuries).

                  Additionally, "the plainti ff only has standing if, and can only recover to the extent

that, he has been injured in his business or property by the conduct constituting
                                                                                  the violation."
Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496-97 (1985) (emphasis added).
                                                                             Thus, "[a]
defendant who violates section 1962 is not liable for treble damages to everyo
                                                                               ne he might have
injured by other conduct .... " Id (quoting Haroco, Inc. v. American National
                                                                              Bank & Trust Co.
of Chicago, 747 F.2d 384, 398 (7th Cir. 1984), aff'd, 473 U.S. 606 (1985)). In
                                                                               other words, "a
plaintiff 'does not have standing if he suffers an injury that was indirectly (and
                                                                                     hence not



                                                   18
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 19 of 30



  proximately) caused by the racketeering activity or RICO predicate acts,
                                                                           even though the injury
  was proximately caused by some non-RICO violation committed by
                                                                 the defend ants."' Makowski
  v. United Bhd. of Carpenters & Joiners ofAm., No. 08 Civ. 6150 (PAC)
                                                                       , 2010 WL 3026510, at
 *8 (S.D.N.Y. Aug. 2, 2010) (quoting Baisch v. Gallina, 346 F.3d 366,
                                                                      377 (2d Cir. 2003)).
                 Plaintiffs allege that defendants' blacklisting caused them to lose profes
                                                                                            sional
 opportunities in the entertainment industry, including, in some cases,
                                                                        roles in specific
 productions. FAC 1830. Blacklisting, however, is not a RICO violati
                                                                     on. See 18 U.S.C.
 § 1961(1) (listing conduct that constitutes "racketeering activity" under
                                                                           18 U.S.C. § 1962).
 Thus, even if, as alleged, defendants were part of an association-in-fact
                                                                           ("the Weinstein Sexual
 Enterprise") that conspired to commit a pattern of RICO violations agains
                                                                           t plaintiffs, plaintiffs
 do not have standing to assert RICO claims against defendants for econo
                                                                         mic injuries not caused
 by those RICO violations.

                Plaintiffs' other alleged injuries are personal injuries, or economic injurie
                                                                                              s
flowing from those personal injuries. As plaintiffs appear to acknowledg
                                                                         e in their brief, they do
not have standing to pursue civil RICO claims based on those injurie
                                                                     s. Plaintiffs' RICO claims
therefore are dismissed.



IV.     Timeliness of State Law Claims

            a. Statutes of Limitations

               Each subclass brings seven claims under New York law: negligent superv
                                                                                      ision
and retention, civil battery, assault, false imprisonment, intentional inflict
                                                                               ion of emotional




                                                  19
         Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 20 of 30



    distress, negligent infliction of emotional distress, and ratification. 7 The New York limitatio
                                                                                                     ns
    periods are three years for negligence claims, including negligent supervision and retention
                                                                                                 , and
    negligent infliction of emotional distress, N.Y. C.P.L.R. § 214(5), and one year for intention
                                                                                                   al
    torts, including battery, assault, false imprisonment, and intentional infliction of emotion
                                                                                                 al
    distress. 8 N.Y. C.P.L.R. § 215(3).

                   The limitations periods for each of these causes of action begin to run from the

    date of the injury. See, e.g., Universitas Educ., LLC v. Bank, No. 15 Civ. 5643 (SAS),
                                                                                           2015 WL
    9304551, at *3 (S.D.N.Y. Dec. 21, 2015) (holding that New York's three-year limitatio
                                                                                          ns period
    for negligent supervision "begins to run at the time and place of injury"); Baker v. Bank
                                                                                              ofAm.,
 NA., No. 16 Civ. 488 (AKH), 2016 WL 9409022, at *3 (S.D.N.Y. Oct. 31, 2016) (holding
                                                                                      that
 the limitations periods for intentional and negligent infliction of emotional distress begin
                                                                                              to run
 "on the date of the injury"), aff'd, 706 F. App'x 43 (2d Cir. 2017); Tchatat v. City ofNew
                                                                                            York,
No. 14 Civ. 2385 (LGS), 2015 WL 5091197, at *14 (S.D.N.Y. Aug. 28, 2015) (holding
                                                                                  that
"[a]ssault and battery claims alleged under New York law accrue on the date of the alleged

incident of 'offensiv e touchin g"' and that "IIED claims, based on harm allegedly incurred
                                                                                            from
an assault, accrue on the date of the alleged assault"); Moreno v. Town of Greenburgh, No.
                                                                                           13



7
 The Miramax Subclass brings Counts III, VII, IX, XI, XIII, XV, and XVII against the Mirama
                                                                                            x
and Disney defendants. The TWC Subclass brings Counts IV, VIII, X, XII, XIV, XVI,
                                                                                     and
XVIII against the TWC defendants.

8
  In their opposition brief, plaintiffs do not contest the limitations periods asserted by defenda
                                                                                                   nts,
and do not mention N.Y. C.P.L.R. § 213-c, "which permits civil claims against a person
                                                                                              who
could be charged with criminal liability for rape, criminal sexual act, or aggravated sexual
                                                                                                abuse
to be brought within five years." Canosa, 2019 WL 498865, at* 12. Even under a five-yea
                                                                                                 r
statute of limitations, all of plaintiffs' state law claims would be untimely unless a tolling
                                                                                               theory
applies.

                                                    20
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 21 of 30



 Civ. 7101 (VB), 2014 WL 3887210, at *5 (S.D.N.Y. June 9, 2014) ("[F]alse imprisonment

 claims under New York law have a one-year statute of limitations ... , which begins to run when

 the plaintiff is released from custody.") (internal citations omitted).9

                 The Geiss action was filed on Decembe r 6, 2017. 10 Accordingly, unless any of

 the limitations periods are tolled, intentional tort claims accruing before Decembe r 6, 2016 and

 negligence claims accruing before Decembe r 6, 2014 are untimely. The most recent alleged

 assault, against Thompson, took place in Septembe r 2011. FAC ,r,r 268-295. Any post-assault

 conduct is relevant, if at all, only to plaintiffs ' tolling arguments.




9
   I construe plaintiffs ' "ratification" claim in Counts XVII and XVIII as an alternative theory of
 liability rather than an independent cause of action. See Hamm v. United States, 483 F .3d 135,
 140 (2d Cir. 2007) ("Ratification is the affirmance by a person of a prior act which did not bind
 him but which was done or professedly done on his account, whereby the act, as to some or all
 persons, is given effect as if originally authorized by him.") (quoting Restatement (Second) of
Agency§ 82 (1958)). Although defendants are alleged to have known of Weinstei n's assaults,
there is no indication that Weinstein carried out the assaults on behalf of the corporate
defendants or any of their agents, or that he purported to be acting on their behalf in committing
the assaults. To the contrary, defendants allegedly attempted to cover up, rather than ratify,
Weinstei n's misconduct. See Canosa, 2019 WL 498865, at *13-14 (dismissing the ratification
claims against all defendants, reasoning that, "even if Weinstein was in a principal-agent
relationship with certain defendants, and even if these defendants knew of his crimes," the
defendants did not authorize Weinstei n's assaults, and Weinstein did not purport to be acting on
behalf of any of the defendants in committing the assaults). Accordingly, I dismiss ratification
as an invalid alternative theory of liability on these facts, and do not consider what statute of
limitations would apply to Counts XVII and XVIII.

10
  The Dulany class action was filed on June 1, 2018 and the FAC, which was filed on October
31, 2018, includes some claims not asserted in the original complaint. Because using the earlier,
Decembe r 6, 2017 filing date does not affect the timeliness of any claims, I do not consider
whether some claims should be considered to have a June 1, 2018 or October 31, 2018 date of
commencement.

                                                   21
      Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 22 of 30



            b. Tolling Doctrines

                Plaintiffs do not dispute these limitations periods, and argue instead that three

 tolling doctrin es-equi table tolling, continuing wrongs, and duress- apply to render their
                                                                                             state
 law claims timely.

                      i. Equitable Estoppel

                "The doctrine of equitable estoppel applies where it would be unjust to allow a

 defendant to assert a statute oflimita tions defense." Zumpano v. Quinn, 6 N.Y.3d 666,673
                                                                                           , 849
N .E.2d 926, 929 (2006). It is "fundamental to the application of equitable estoppel for plaintiff
                                                                                                   s
to establish that subsequent and specific actions by defendants somehow kept them from
                                                                                       timely
bringing suit." Id at 674. Such actions must entail "affirmative steps to prevent a plaintiff
                                                                                              from
bringing a claim." Id Under New York Law, equitable estoppel is an "extraordinary remedy"

that should be "invoked sparingly and only under exceptional circumstances." Twersky v.

Yeshiva Univ., 993 F. Supp. 2d 429,442 (S.D.N.Y.) (internal citations and quotation marks

omitted), aff'd, 579 F. App'x 7 (2d Cir. 2014). The doctrine's application is narrow "becaus
                                                                                             e if
applied too liberally it threatens to undermine the purpose of statutes of limitations of allowing

potential defendants predictability and ultimate repose." Veltri v. Bldg. Serv. 32B-J Pension

Fund, 393 F.3d 318,326 (2d Cir. 2004).

               Recent statements of the doctrine of equitable estoppel typically refer to wrongful

inducement by "fraud, misrepresentation, or deception." See, e.g., Abbas v. Dixon, 480 F.3d

636,642 (2d Cir. 2007) (quoting Doe v. Holy See (State a/Vatic an City), 17 A.D.3d 793,
                                                                                        795,
793 N.Y.S.2d 565, 568 (3d Dep't 2005)). Some earlier statements, however, list "decepti
                                                                                        on,
concealment, threats or other misconduct'' as possible forms of wrongful inducement. See,
                                                                                          e.g.,



                                                22
        Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 23 of 30



  Overall v. Estate of Klotz, 52 F.3d 398, 404 (2d Cir.
                                                        1995) (emphasis added) (quoting Zoe G. v.
  Fred erick FG., 208 A.D. 2d 675, 617 N.Y. S.2d 370,
                                                        371 (2d Dep 't 1994)).

                   In this circuit, fear ofret aliat ion has been recognized
                                                                             as a basis for equitable
  estoppel in at least one context: litigation by priso
                                                        n inmates unde r 42 U.S.C. § 1983. See Davis
  v. Jackson, No. 15 Civ. 5359 (KMK), 2016 WL 5720
                                                   811, at *9 (S.D.N.Y. Sept. 30, 2016)
  (holding that, given the "uniq ue context and the subst
                                                          antial control that correction officers exert
  over inmates," an inma te's "reas onab le fear ofret aliat
                                                             ion may be     sufficient to constitute
  extraordinary circumstances warranting equitable tollin
                                                                  g"). Outside of those unique
  circumstances, however, New York law strongly disfa
                                                                 vors equitable tolling based on fear of
 retaliation, except where duress is an element of the
                                                       cause of action. See, e.g., Baratta v.
 Kozlowski, 94 A.D. 2d 454, 459, 464 N.Y. S.2d 803, 806
                                                        (2d Dep' t 1983) (holding that death
 threats did not toll the statute of limitations on a conv
                                                           ersion action and reasoning that" [ w]here
 the underlying action is unrelated to duress, ... the
                                                       Statute of Limitations is not tolled by
 duress"); Pietri v. NYS . Office of Court Admin., 936
                                                       F. Supp. 2d 120, 136 n.14 (E.D.N.Y. 2013)
 (holding that, in the context of empl oyme nt claims,
                                                       "[ f]ear of retaliation is not a basis for
 equitable tolling").

                 Furthermore, even if certain extreme forms of intim
                                                                     idation, such as specific
threats of violence, could trigger equitable estoppel
                                                      outside of the priso n context, "[f]e ar of harm
to a plain tiffs caree r cann ot justi fy equitably estop
                                                          ping   a defendant from asserting a time
limitation period." Netzer v. Continuity Graphic Asso
                                                     cs., Inc., 963 F. Supp. 1308, 1318
(S.D.N. Y. 1997) (holding that equitable estoppel was
                                                      not triggered where defendant told plain tiff
"neg ative thing s" woul d happ en ifhe pursu ed his copy
                                                          right claim).



                                                    23
          Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 24 of 30



                    Plaintiffs argue that defendants "took affirmative steps" to prevent victims from

     (i) "learning of the defendants' knowledge" of Weinstein's misconduct and (ii)
                                                                                    asserting claims
     against defendants. Pls.' Opp'n Mem. 75, ECF No. 243. The first theory sounds
                                                                                   in fraud and
     misrepresentation, the most common grounds for equitable estoppel; the second
                                                                                   appears to
     invoke the disfavored "fear ofretal iation" theory, though plaintiffs do not press
                                                                                        that point. For
 the reasons discussed below, neither theory is viable on the facts alleged in the
                                                                                   FAC.
                               1. Fraud, Misrepresentation, or Deception

                    As to the first theory, plaintiffs do not explain how concealment of defendants'

 awareness ofH. Weinstein's misconduct prevented them from bringing their state
                                                                                law claims.
 At the time ofH. Weinstein's alleged assaults, plaintiffs were aware of their injurie
                                                                                       s-from
 assault, battery, false imprisonment, and/or infliction of emotional distres s-and
                                                                                    of the identities
 of the company or companies that might be vicariously liable to them for those
                                                                                      injuries.11
                   The only claims to which plaintiffs' concealment theory conceivably could apply

are the negligent supervision and retention claims, since one element of those
                                                                               claims is that "the
employer knew or should have known of the employee's propensity for the conduc
                                                                               t which
caused the injury prior to the injury' s occurrence." Ehrens v. Lutheran Church
                                                                                , 385 F.3d 232,
235 (2d Cir. 2004) (internal citations and quotation marks omitted). In Zimme
                                                                              rman, a case on
which plaintiffs rely, the court held that a school was equitably estopped from
                                                                                asserting a statute
of limitations defense to negligent supervision and retention claims arising from
                                                                                       a former
football coach's sexual abuse. Zimmerman, 888. F. Supp. 2d at 340. The court
                                                                             held that the



11
  As discussed above, plaintiffs' attempt to hold defendants liable under an alterna
                                                                                     tive
"ratification" theory fails to state a claim. See supra n. 9.

                                                    24
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 25 of 30



plaintiffs adequately alleged that the school had wrongfully prevented them from filing suit by

making public statements falsely suggesting that the school was unaware of the coach's

misconduct. Id.

                Plaintiffs argue that this case is similar to Zimmerman, pointing to numerous

alleged instances of affirmative conduct by various defendants: enforcing a "Code of Silence"

on employees, making hush payments to victims, instructing victims to stay quiet, assigning a

top executive to cover up Weinstein's misconduct, sending threatening text messages,

forwarding victim complaints to H. Weinstein, retaining legal and other professional services to

assist in the cover-up, blacklisting victims, and intimidating journalists. Pls.' Opp'n Mem. 75-

76, ECF No. 243. These actions, although reprehensible, did not use fraud, misrepresentation, or

deception to prevent plaintiffs from filing suit. 12 See Canosa, 2019 WL 498865, at *8

(Reprehensible though acts of intimidation to achieve a victim's silence would be, they do not

trigger [equitable estoppel]."); Zumpano, 6 N.Y.3d at 675, 849 N.E.2d at 930 ("[Plaintiffs] also

allege that, for over 40 years, [Catholic diocese] defendants did not report abuse by priests to law

enforcement officials; reassigned offending priests without disclosure of their offenses; and,

when victims complained, made private payments to them so that the charges would not be

publicized. Conduct like this might be morally questionable ... , but it is not fraudulent




12
   Plaintiffs allege that a member of Harvey's former legal team contacted Thompson under false
pretenses in October 2017 and falsely told her that she did not need to worry about the statute of
limit!ltions for bringing her claim. F AC ,r 309. By October 2017, however, the statutes of
limitations on Thompson's claims based on an assault alleged to have occurred in 2011 had long
since run. See, e.g., Zimmerman, 888 F. Supp. 2d at 341 ("[O]nly misrepresentations occurring
during the limitations period are relevant; equitable estoppel cannot revive a claim that is already
time-barred.").


                                                25
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 26 of 30



  concealment as a matter of law."); Twersky, 993 F. Supp. 2d at 444 (holdin
                                                                             g that "allegations
  that [high school] defendants failed to report known abuse to the author
                                                                           ities, failed to warn
  students and their families of the known risk of abuse, and failed to disclo
                                                                               se the abuse publicly"
 constituted "passive concealment [that] falls short of the sort of specif
                                                                           ic and affirmative
 misrepresentation required to trigger an equitable estoppel defense"),
                                                                        aff'd, 579 F. App'x 7 (2d
 Cir. 2014).

                            2. Fear of Retaliation

                Much of the affirmative conduct relied on by plaintiffs goes to the second

 potential ground for invoking equitable estop pel-fe ar of retaliation.
                                                                         The parties not having
 briefed the issue, I do not express a view as to whether, when duress
                                                                       tolling does not apply,
 extreme acts of intimidation by a perpetrator or supervisor of sexual
                                                                       assault can estop that
 defendant from asserting a statute of limitations defense. Even if the
                                                                        doctrine of equitable
 estoppel extends to such circumstances, the doctri ne's other requirement
                                                                           s do not fall away: there
must be threats or intimidation against each plainti ff by each defendant
                                                                            that plaint iff seeks to
estop, the conduct must occur within the limitations period, and the plaint
                                                                            iff must bring suit
within a reasonable period of time after the conduct ceases. Here, no
                                                                      plaint iffs allegations come
close to meeting those requirements as to any defendant. Some allegat
                                                                      ions describe intimidation
in the immediate aftermath of an assault. See, e.g., FAC ,r 163 (allegin
                                                                         g that, in 1998, Weinstein
sat behind Brock at a movie theater the night after he assaulted her and
                                                                           held her chair in an
attempt to intimidate her). Other allegations describe intimidation long
                                                                         after the limitations
period had run. See, e.g., FAC ,r 411 (alleging that, in 2017, Lombardo
                                                                        sent threatening text
messages to an unidentified victim whom Weinstein had assaulted in
                                                                   the late 1990s). None,



                                                26
       Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 27 of 30



 however, describe a pattern of continual and egregious acts of intimidation sufficient to toll
                                                                                                the
 statute of limitation for years or, in some cases, decades. In the absence of such a pattern,
                                                                                               fear of
 retaliation does not toll the statutes of limitations for the duration of a famous defendant's
                                                                                                power
 and influence, even for the most despicable wrongs. Plaintiffs' equitable estoppel argumen
                                                                                            ts
 therefore fail.

                       ii. Duress and Continuing Wrongs

                    Plaintiffs assert that the statutes of limitations are tolled by duress only as to their

 RICO and infliction of emotional distress claims. FAC ,-i 693. The RICO claims having
                                                                                       been
 dismissed, the only remaining question is whether duress tolling saves plaintiffs' negligen
                                                                                             t and
 intentional infliction of emotional distress claims.

                   In this context, the doctrine of duress and the doctrine of continuing wrongs are

interconnected. Duress must be "part of the cause of action alleged," and therefore "the duress

that forms the cause of action is then considered a continuing wrong." Donahue v. Pendleto
                                                                                           n
Woolen Mills, Inc., 633 F. Supp. 1423, 1444 (S.D.N.Y. 1986). "Duress tolling is not triggere
                                                                                             d,
however, simply because duress constitutes an element of the underlying tort." Overall v.
                                                                                          Estate
ofKlotz, 52 F.3d 398,405 (2d Cir. 1995). Both elements of duress, "threats or force by the

defendant, and the submission of the plaintif fs free will to those threats," must be met. Id
                                                                                              at
404. "Furthermore, the tortious conduct must continue uninterrupted." Id at 405.

                   In Canosa, the court held that the complaint adequately alleged "a course of

intimidating and abusive conduct by Weinstein," the most recent instances of which occurred
                                                                                            in
August 2017, thus constituting "continuing wrongs" that brought each instance of alleged

misconduct within the limitations period. 2019 WL 498865, at *8. The court held that the



                                                     27
      Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 28 of 30



 continuing wrongs applied only to the plaint iffs intentional infliction
                                                                          of emotional distress
 claims; assault and battery claims are "treat[ed] as distinct, non-continuo
                                                                             us wrongs." Id
                Here, for the reasons discussed in the section above concerning equita
                                                                                       ble
estoppel, plaintiffs' allegations are manifestly insufficient to support
                                                                         duress tolling. Plaintiffs
allege little or no threatening behavior by defen dants- much less a course
                                                                               of conduct involving
threats or force that continued without interr uption -betw een the time
                                                                         immediately surrou    nding
each assault and 2017. By contrast, the plainti ff in Canosa alleged numer
                                                                           ous, frequent threats
and assaults against her throughout the limitations period, which persist
                                                                          ed up until a few months
before she filed her lawsuit. See 2019 WL 498865, at *2-3. Accordingly
                                                                              .
                                                                       , the duress and
continuing wrongs doctrines do not render plaintiffs' state law claims
                                                                       timely.
           c. JaneD oe

               The Child Victims Act ("CVA"), effective February 14, 2019, added
                                                                                 section 214-
g to the New York Civil Practice Law and Rul~s. Section 214-g provid
                                                                     es, in pertinent part:
               Notwithstanding any provision of law which imposes a period of
               limitation to the contrary and the provisions of any other law
               pertaining to the filing of a notice of claim or a notice of intention
               to file a claim as a condition precedent to commencement of an
               action or special proceeding, every civil claim or cause of action
               brought against any party alleging intentional or negligent acts or
               omissions by a person for physical, psychological, or other injury
               or condition suffered as a result of conduct which would constitute
              a sexual offense as defined in article one hundred thirty of the
              penal law committed against a child less than eighteen years of
              age, ... or a predecessor statute that prohibited such conduct at the
              time of the act, which conduct was committed against a child less
              than eighteen years of age, which is barred as of the effective date
              of this section because the applicable period of limitation has
              expired, and/or the plainti ff previously failed to file a notice of
              claim or a notice of intention to file a claim, is hereby revived, and
              action thereon may be commenced not earlier than six months



                                               28
        Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 29 of 30




                after, and not later than one year and six months after the effective
                date of this section.

Jane Doe alleges that H. Weinstein sexually assaulted her in 2002, when she was sixteen years

old. FAC ,i,i 201-211. That conduct, as alleged, would constitute a sexual offense under section

130. Accordingly, Jane Doe is situated differently from the other plaintiffs with respect to the

New York statutes of limitations. She has not, however, demonstrated compliance with the

filing requirements of section 214-g or, in light of the dispositions of her federal claims, a

sufficient basis of jurisdiction.

                Plaintiff's claims are dismissed, without prejudice to asserting claims when they

become timely under section 214-g.



                                          CONCLUSION

                For the reasons discussed in this decision: (i) Harvey Weinstein' s motion to

dismiss the TWC Subclass's TVPA claim (Count I) is denied, and (ii) all other claims against all

other defendants (Counts II-XVIII) are dismissed. Accordingly, the Miramax Subclass has no

remaining claims, there are no remaining claims against any of the Corporate Defendants, and no

remaining claims against any of the Individual Defendants, except Count I against Harvey

Weinstein. Jane Doe's state law claims are dismissed without prejudice. All other dismissals are

with prejudice.




                                                  29
         Case 1:17-cv-09554-AKH Document 278 Filed 04/18/19 Page 30 of 30



               The Clerk shall terminate the open motions (ECF Nos. 199,239,241,246,254,

and 272). The remaining parties shall appear for a status conference on June 4,2019 at 11 :00

a.m.

               SO ORDERED.

Dated:         ApriV�019
               New Yo;k,,New York




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